

ON MOTION FOR REHEARING

WELLS, Judge.
Defendant, Leduan Diaz, seeks rehearing following the issuance of our opinion on October 20, 2010. We grant rehearing, *1080withdraw our prior opinion, and substitute this opinion in its place.
Diaz appeals the denial of his postcon-viction motion filed pursuant to Florida Rule of Criminal Procedure 8.850, claiming ineffective assistance of counsel due to trial counsel’s failure to advise him that accepting a plea would subject him to deportation. We affirm based on Hernandez v. State, 61 So.3d 1144 (Fla. 3d DCA 2011), wherein this Court: (a) citing Padilla v. Kentucky, — U.S. -, 130 S.Ct. 1473, 176 L.Ed.2d 284 (2010), found that the trial court’s deportation warning under Florida Rule of Criminal Procedure 3.172(c)(8) did not cure the prejudice arising from defense counsel’s failure to warn that accepting a plea would result in the defendant’s mandatory deportation; (b) certified conflict with Flores v. State, 57 So.3d 218 (Fla. 4th DCA 2010) on this legal question; and (c) found that Padilla had no retroactive effect and thus did not apply to pleas taken before Padilla was announced, certifying a question of great public importance to the Florida Supreme Court.
Affirmed.
